Case 2:05-cr-20233-SH|\/| Document 10 Filed 06/27/05 Page 1 of 2 Page|D 8

mae 1774/§§

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IN THE UNITED STATES DISTRICT COURT r-
FOR THE WESTERN DISTR_ICT OF TENNESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA

V. 05-20233-Ml

ROOSEVELT HENDERSON

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on @0¢4£ 29,¢/ 2 JQ_§ , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and With
counsel:

/ \
NAME d /a/MVA_@ / who is Retained/Appoimed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
i/Ue defendant, (not having e bond) (being a state soner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is rem nded t ustody of the U.S. Marsha].

    

 

UN`ITED sTATEs MAGISTRATE JUDGE

CHARGES: 18 :922(§);

U. S. Attorney assigned to Case: D. Pritchard

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This notice confirms a copy of the document docketed as number 10 in
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David Pritchard

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Honorable .l on McCalla
US DISTRICT COURT

